                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
       Plaintiff,                                    )
                                                     )       Criminal No. 3:96-cr-00051
v.                                                   )       Judge Trauger
                                                     )
MATTHEW OTIS CHARLES                                 )
                                                     )
       Defendant,                                    )
                                                     )

                                             ORDER

       The defendant has filed a Motion for Imposition of a Reduced Sentence Pursuant to

Section 404 of the First Step Act (Docket No. 251), to which the government has filed a

Response, stating that there is no opposition to the motion. The defendant’s motion has merit

and, therefore, is GRANTED. The defendant’s sentence on Counts 1, 4, and 7 of the Indictment

in this case is hereby REDUCED to time served pursuant to Section 404 of the First Step Act.

The defendant having already served the sentences imposed on the other counts in this case, is

entitled to immediate release.

       It is so ORDERED.

       ENTER this 3rd day of January 2019.


                                                     ________________________________
                                                     ALETA A. TRAUGER
                                                     U.S. District Judge




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